     Case 3:19-cv-08536-MAS-ZNQ Document 38 Filed 10/14/20 Page 1 of 1 PageID: 329




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                                                                                          October 13, 2020
     VIA ECF
     The Honorable Michael A. Shipp, U.S.D.J.
     Clarkson S. Fisher Building & U.S. Courthouse
     402 East State Street, Room 2020
     Trenton, NJ 08608

             RE:        McKeon v. City of Asbury Park et al, No. 3:19-cv-08536-MAS-ZNQ

     Dear Judge Shipp:

             As Your Honor is aware, this firm represents Defendants the City of Asbury Park,
     Mayor John Moor, and Michael Capabiano (collectively, “Defendants”) in the above-
     referenced matter filed by Plaintiff Robert McKeon (“Plaintiff”) (Defendants and Plaintiff
     collectively, “Parties”). Please accept this correspondence as a follow-up to my
     October 9, 2020 correspondence to the Court advising that the Parties required additional time
     to agree to a form of settlement beyond the October 9, 2020 deadline established by Your
     Honor's September 25, 2020 Opinion and Order. (ECF Nos. 34 & 35).

             As of this writing, the Parties remain on the verge of an agreement. Today, a revised and
     proposed final form of settlement agreement was forwarded from Defendants to Plaintiff for
     review and consideration. Defendants anticipate that no later than Friday, October 16, 2020, the
     Parties will submit the mutually agreed upon settlement agreement or further correspondence to
     the Court advising as to the status of negotiations.

            I remain available at any time should the Court have any questions, concerns, or require
     additional information. Your Honor’s continued attention and courtesies with respect to this
     matter are greatly appreciated.

                                                 Very truly yours,

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                                                  By:      ________________________
                                                            Stephen J. Boraske, Esq.

      cc (via e-mail & ECF):                            Patricia Barasch, Esq., Attorney for Plaintiff
                                                        Donna M. Vierio, City Manager
                                                        Eric Nemeth, Esq., General Counsel, NJIIF
